       Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 1 of 20




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA,                 Case No. 1:21-cr-00495-ABJ

         v.                                  GRAY’S MOTION FOR
                                             REQUIRED DISCLOSURE OF
   DANIEL GRAY,                              POTENTIALLY EXCULPATORY
                                             INFORMATION
  Defendant.




 GRAY’S MOTION FOR REQUIRED DISCLOSURE OF POTENTIALLY
              EXCULPATORY INFORMATION

      Defendant Daniel Paul Gray (“Gray”), through the undersigned counsel,

John M. Pierce, Esq., presents this Motion and Memorandum of Law requesting an

Order that the U.S. Government disclose to the Defendant promptly, the following

information necessary to the Defendant’s defense pursuant to pretrial discovery

under Rules 6(e)(3)(C) and 16(a)(1)(A) of the Federal Rules of Criminal

Procedure, Rule 16 of the same, Brady v. Maryland, 373 U.S. 83 (1963) and

progeny, and Gray’s Due Process rights under the U.S. Constitution:

      A. all documents, communications, recommendations, and threat assess-
         ments by the U.S. Capitol Police, FBI, Secret Service, Metropolitan Po-
         lice Department or other law enforcement agencies concerning any per-
         ceived threats and security arrangements for January 6, 2021.
      B. all of the records of the USCP which would identify the reason or reasons

         that the USCP advised the presiding officers to recess and evacuate.



                                        1
         Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 2 of 20




        C. All documents relating to locations of barricades and “restricted area”

           signs at the time af Gray’s arrival.

         In support of his motion Gray states as follows:


I. INTRODUCTION AND OVERVIEW

        In Part A of this motion, Defendant Gray seeks disclosure by the U.S.

Attorney’s Office and the U.S. Capitol Police (“USCP”) of all documents, records,

communications, messages, video recordings, audio recordings, and the like of the

USCP’s analysis, observation, and assessments involving events on January 6,

2021.

        Thus far, this basic information has been denied in every case, upon

information and belief.

        Defendant Daniel Paul Gray (“Gray”) is charged with nine (9) Counts which

actually in substance come down to --

           a. One Count of 18 U.S.C. § 1512(c)(2) “Obstruction of an Official

              Proceeding” for allegedly disrupting the quadrennial Joint Session of

              Congress for the receipt, evaluation, resolution of disputes about, and

              ultimate counting of the votes for President and Vice President by the

              Electoral College, including allegedly aiding and abetting thereof,




                                            2
         Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 3 of 20




               which is a felony punishable by up to 20 years in prison. 1

           b. Four variations of “Entering and Remaining in a Restricted Building

              or Grounds” with charges of disruption thereby 2 including under 18

               U.S.C. § 1752(a)(1) and (2) and 18 U.S.C. § 5104(e)(2)(D)

               “Disorderly Conduct in a Capitol Building” and (G) “Parading,

               Demonstrating or Picketing in a Capitol Building.”

           c. Four variations of charges of violence including 18 U.S.C. § 231(a)(3)

              acts in furtherance of “Civil Disorder” or hindering officers during a

              civil disorder; 18 U.S.C. § 111(a)(1) “Assaulting, Resisting, or

              Impeding Certain Officers”; 18 U.S.C § 1752(a)(4) “Engaging in

              Physical Violence in a Restricted Building or Grounds”; and 18

              U.S.C. § 5104(e)(2)(F) “Acts of Violence in the Capitol Grounds or

              Buildings.”

       Here, Parts A and B of this motion addresses “only” Count One of 18 U.S.C.

§ 1512(c)(2) “Obstruction of an Official Proceeding”— Gray’s most serious

charge, a felony, punishable by up to 20 years in prison.

       In Part C, Defendant Gray requests all documents and records of the


1
       Here, unlike a court hearing, Congress frequently takes weeks or months to consider
pending legislation. Therefore it is difficult to analyze what “obstructing” a Congressional pro-
ceeding means. The Joint Session of Congress is required to convene at 1:00 PM on January 6
every four years, but is not required to finish that same day. Also, other judges have ruled that
18 U.S.C. 1512(c)(2) does not apply and the Government has appealed, which appeal is pending.
2
       Apparently meaning just being disruptive in general, not disruption of the Joint Session.


                                                3
        Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 4 of 20




existence and/or location of any bike racks, barricades, and signs providing notice

of any restricted area or restriction of any building or grounds at the time

Defendant Gray approached the alleged boundaries of the allegedly restricted

areas , including identification of all persons as likely witnesses who have been

videotaped removing the same on camera before Gray arrived.


II. GOVERNING LAW: BRADY and Other Obligations


      Local Rule 5.1 “DISCLOSURE OF INFORMATION” prescribes that:

          (a) Unless the parties otherwise agree and where not prohibited by
          law, the government shall disclose to the defense all information
          “favorable to an accused” that is “material either to guilt or to
          punishment” under Brady v. Maryland, 373 U.S. 83, 87 (1963),
          and that is known to the government. This requirement applies
          regardless of whether the information would itself constitute
          admissible evidence. The information, furthermore, shall be
          produced in a reasonably usable form unless that is impracticable;
          in such a circumstance, it shall be made available to the defense
          for inspection and copying. Beginning at the defendant’s
          arraignment and continuing throughout the criminal proceeding,
          the government shall make good-faith efforts to disclose such
          information to the defense as soon as reasonably possible after its
          existence is known, so as to enable the defense to make effective
          use of the disclosed information in the preparation of its case.

          (b) The information to be disclosed under (a) includes, but is not
          limited to: (1) Information that is inconsistent with or tends to
          negate the defendant’s guilt as to any element, including
          identification, of the offense(s) with which the defendant is
          charged; (2) Information that tends to mitigate the charged
          offense(s) or reduce the potential penalty; (3) Information that
          tends to establish an articulated and legally cognizable defense
          theory or recognized affirmative defense to the offense(s) with


                                          4
        Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 5 of 20




          which the defendant is charged; (4) Information that casts doubt
          on the credibility or accuracy of any evidence, including witness
          testimony, the government anticipates using in its case-in-chief at
          trial; and (5) Impeachment information, which includes but is not
          limited to: (i) information regarding whether any promise, reward,
          or inducement has been given by the government to any witness it
          anticipates calling in its case-in-chief; and (ii) information that
          identifies all pending criminal cases against, and all criminal
          convictions of, any such witness.

      The scope of the requirements of Brady v. Maryland, 373 U.S. 83 (1963), is

very broad. See United States Justice Manual (USJMM) § 9-5.001. For instance, a

“prosecutor must disclose information that is inconsistent with any element of any

crime charged” and --

               “… must disclose information that either casts a
               substantial doubt upon the accuracy of any evidence-
               --including but not limited to witness testimony—the
               prosecutor intends to rely on to prove an element of
               any crime charged, or might have a significant
               bearing on the admissibility of the evidence. This
               information must be disclosed regardless of whether
               it is likely to make the difference between
               convictions and acquittal of the defendant for a
               charged crime.”

Id.

      The disclosure requirement, “applies to information regardless of whether

the information subject to disclosure would itself constitute admissible evidence.”

Id.

      The Defendant is entitled to the documents and the evidence, to the extent

potentially or here likely to be exculpatory information as required by Brady v.


                                         5
        Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 6 of 20




Maryland, 373 U.S. 83 (1963) ; See also, United States v. Sitzmann, 74 F.Supp.3d

128, 133 (D.D.C. 2014).


       Closely associated with the federal rule are several U.S. Supreme Court

decisions which hold that a defendant has a right to the testimony of witnesses.

See, United States v. Dennis, 384 U.S. 855 (1966); United States v. Proctor &

Gamble, 356 U.S. 677 (1958).

                 “Witnesses, particularly eye witnesses, to a crime are
                 the property of neither the prosecution nor the
                 defense. Both sides have an equal right, and should
                 have an equal opportunity, to interview them.”

Gregory v. United States 369 F.2d 185, 188 (D.C. Cir. 1966). See also, Model
Code Of Prof'l Responsibility Rule 3.8(d).

       Even government officials or agents and law enforcement officials –

employees of government – are equally witnesses for the Defendant as they are of

the prosecution.



III.   ARGUMENT

             A. IN GENERAL

       Defendant states the following:

       (1)     The information respectfully demanded is required for Gray’s defense

under Brady v. Maryland, its progeny, and the Federal and local rules.

       (2)     Defendant is entitled to due process of law which includes the right to


                                           6
        Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 7 of 20




prepare for trial and to be heard before a neutral decision-maker, including the

constitutional right to participate in his own defense such as by preparation of his

presentation for trial.

       (3)    Potentially exculpatory information must be disclosed sufficiently in

advance of trial to allow defense counsel and Defendant to research its content and

implications to prepare effective cross-examination and to subpoena witnesses.

       (4)    Gray is entitled to evidence that would show any inconsistency in

witness’ testimony as recalled closer in time to the events at issue or unfettered by

intervening pressure.

       (5)    Defendant is entitled to evidence that might show the ability of

witnesses to know or remember what they claim to have witnessed.

       (6)    Defendant is entitled to evidence that might help separate almost 2

years of intensive and continual news coverage from the witness’ actual

recollections of events.

       (7)    Given the U.S. Capitol Police’s official estimate that there were 10,000

demonstrators present near or around the U.S. Capitol that afternoon, at a time when

masks were almost universally required by government mandate, the probability of

the prosecution misidentifying people involved in some or all of the actions

complained of is high.

       (8)    Simply because an extraordinarily large crowd unrelated to Gray got



                                          7
         Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 8 of 20




out of control (by no act or omission of Gray) is not valid evidence of the charges

against Gray or other co-Defendants. The Government must prove that Gray

committed a crime, not “someone” did. The Government’s affinity for analyzing

what “a crowd” did in the aggregate is inconsistent with the law, the Constitution,

Due Process, and centuries of Anglo-American jurisprudence.

           B. PART A: DISCLOSURE OF U.S. CAPITOL POLICE
              DOCUMENTS OF PENDING OR UNFOLDING
              THREAT ASSESSMENT ON AND BEFORE
              JANUARY 6, 2021.


       Gray demands all threat assessments, communications, planning and pre-

planning documents, and recommendations by the U.S. Capitol Police, FBI, Secret

Service, Metropolitan Police Department or other law enforcement agencies

concerning any perceived threats and security arrangements for January 6, 2021.

           PART B: DISCLOSURE OF ALL DOCUMENTS AND
       RECORDS RELATING TO DECISIONS TO RECESS
       CONGRESS AND/OR EVACUATE.




       The Congressional Record reveals 3 that someone from USCP advised the

3
       The court may take judicial notice that the House was recessed by the presiding officer at
2:18 PM, pursuant to standing Rule I, Clause 12(b) (allowing for immediate recess without a
vote upon notice of a threat). Counting Electoral Votes--Joint Session Of The House And Senate
Held Pursuant To The Provisions Of Senate Concurrent Resolution 1; Congressional Record



                                               8
         Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 9 of 20




presiding officer (in the House, being Rep. McGovern at that moment) to invoke

Rule I, Clause 12 of the House Rules to instantly recess without debate or a vote.

The USCP stated to the presiding officer a reason why Congress must recess and

evacuate. There was a reason why the Joint Session of Congress recessed at 2:18

PM on January 6, 2021, and Gray is entitled to all documents and records

regarding this.

       The Government accuses Defendant Gray of being the reason for Congress’

recess decision. Gray is entitled to any official documentation that the actual

reason(s) were not Gray.

       The Government in all of the January 6 related cases has failed to allege or

substantiate any causation between any of the over 800 Defendants and the recess

of the Congress.

       We know for a fact that the discovery of pipe bombs at the Republican

National Committee (“RNC”) headquarters across the intersection from the

Cannon House Office Building – confirmed at 12:50 PM (noticed by a bystander at

12:40 PM, but confirmed by police at 12:50 PM) caused USCP to order the

evacuation of the Cannon House Office Building and the Library of Congress




Vol. 167, No. 4 (House of Representatives - January 06, 2021)
https://www.congress.gov/congressional-record/2021/01/06/house-section/article/H76-4 The
use of Rule I, Clause 12 indicates that the USCP advised the presiding officer of a specific threat
or threats justifying a recess. Defendant demands disclosure of those reason(s).


                                                9
       Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 10 of 20




Madison building sometime before 1:17 PM.

      Paul Bedard is a veteran journalist 4 based in Washington, D.C. with decades

of reporting experience. He announced on Twitter: 5




      Chris Marquette is a reporter with Roll Call news magazine, who announced

on Twitter: 6




      We know that evacuations by USCP had already started sometime earlier

than 1:17 PM EST on January 6, 2021.


4
  https://www.washingtonexaminer.com/author/paul-bedard
5
  https://twitter.com/SecretsBedard/status/1346884057276305411?ref_src=twsrc%5Etfw
6
  https://twitter.com/ChrisMarquette_/status/1346883510045466626?ref_src=twsrc%5Etfw


                                         10
         Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 11 of 20




           C. THE ALLEGATIONS AT ISSUE

       The First Superseding Indictment (“FSI”) filed on December 1, 2021, at Dkt.

No. 25, is as the law customarily describes such as “thread bare.” It consists only

of conclusory statements of law and no factual allegations whatsoever.

Presumably, the FSI is illuminated by the Statement of Facts filed on May 17,

2021, at Dkt. No. 1-1, originally in Magistrate Case No. 1:21-mj-00429-GMH,

which states:

           a. As the proceedings continued in both the House and the Senate, and
              with Vice President Mike Pence present and presiding over the
              Senate, a large crowd gathered outside the U.S. Capitol.

           b. Temporary and permanent 7 barricades were in place around the
              exterior of the U.S. Capitol building, and U.S. Capitol Police were
              present and attempting to keep the crowd away from the Capitol




7
        In fact, the evidence will show that there were – as of January 6, 2021 – conspicuously no
permanent barricades nor signs nor notice around the U.S. Capitol, and that the Capitol is “se-
cured” only in the sense that the Smithsonian Institute museums are “secured” yet open to the
public. The Capitol is probably the most public government building in the world, at which
school children visit in tours and tourists, members of the public, activists, etc., are always wel-
come. It is a museum at which some of our nation’s founding documents are displayed, statues
displayed for viewing and some of our nation’s most iconic paintings are on display. The Capi-
tol building contains two public gifts shops, aside from gift shops in the office buildings and visi-
tor’s center. An inspection of the exterior of the Capitol and its grounds reveals a surprising lack
of any warning that sometimes the normally public status of the Capitol and its grounds could
change. Even the claim that the Capitol was closed during COVID is not supported by any sign-
age. Unlike a normal charge of trespassing, the Capitol and its 58.8 acres of grounds are clearly
open to the public nearly all the time, but the allegation is that the authorities’ efforts were le-
gally effective at altering that normal “permanent” status to a temporary restriction. The Gov-
ernment’s repeated claims that the Capitol is “secured” as implying “closed” or has permanent
barricades is unsupported by the conspicuous, objective evidence. Photographs of the outside of
the building confirms that there were no such permanent signs or barricades prior to January 6.


                                                 11
        Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 12 of 20




              building and the proceedings underway inside. 8

           c. Members of the U.S. Capitol Police attempted to maintain order and
              keep the crowd from entering the Capitol; however, shortly around
              2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
              including by breaking windows and by assaulting members of the
              U.S. Capitol Police, as others in the crowd encouraged and assisted
              those acts.

           d. Shortly thereafter, at approximately 2:20 p.m. members of the United
              States House of Representatives and United States Senate, including
              the President of the Senate, Vice President Mike Pence, were
              instructed to—and did—evacuate the chambers.

           e. Gray states that “a female cop stole my phone and I got mace’d . . .
              and I’m like you know what, we’re doing this and so we literally
              pushed them from the front steps of the Capitol all the way back.”
              (Gray disputes this account of events.)

           f. The affiant reviewed body-worn cameras worn by members of the
              Washington, D.C. Metropolitan Police Department (“MPD”) that
              recorded Gray inside the Rotunda area of the U.S. Capitol Building on
              January 6, 2021. In sum, the body-worn camera footage recorded that,
              at approximately 2:57 p.m., a group of MPD and United States
              Capitol Police (“USCP”) officers were standing at the top of the stairs
              off of the west-side of the Capitol Rotunda, in an effort to deny the
              rioters the ability to maneuver through the Rotunda. 9


8
        In fact, the evidence will show that by the time Defendant Gray approached the Capitol
there were no barricades or fences or signs giving notice of a temporary restriction altering the
normal status quo including because (a) bike racks are normally used to guide – not prohibit –
foot traffic, like the folded lines entering into a sports event and (b) video recordings show a
mysterious team waiting until they saw crowds approaching down Pennsylvania Avenue and
then swung into action to coldly, systematically, and professionally remove all bike racks or
other barricades, and roll up the flexible wire mesh fences. All signs had been affixed to the
same, and therefore all the signs were gone by the time the main crowds reached the edge of the
Capitol Grounds. They were gone – as caught on video – by being intentionally removed.
9
        Video recordings such as the news recording of Laura Giesweller of Keep in News
Agency filmed for French television document that the USCP and MPD crowded demonstrators
into the Rotunda and would not let them leave. The French journalist Laura Giesweller in the
news camera recording asks for help getting out to which many members of the crowd yells back
in frustration various things to the effect “We are all trying to get out, they won’t let us.”


                                               12
        Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 13 of 20




           g. In one body-worn camera video, Gray joined a group of rioters, who
              are yelling at the officers for various reasons, 10 and Gray remained in
              the vicinity. 11

       As a result, the Government not merely admits but has established as the law

of the case which it cannot now walk away from that

       (1) the Joint Session of Congress on January 6, 2021, recessed at

           approximately 2:20 PM EST on that day. It was 2:18 PM according to

           the Congressional Record of the House of Representatives.

       (2) Defendant Gray was not there, however, at 2:18 PM. 12

       (3) Defendant Gray was not present when the official proceeding was

           obstructed.

       (4) The first time at which the Government’s evidence identifies Gray as

           being within the Capitol building is when he is allegedly seen on one or

           more police officer’s body worn camera video(s) at around 2:57 PM. 13

       (5) Therefore, it is a matter of law, fact, and the laws of physics governing

           the universe that at 2:57 PM EST Defendant Gray did not cause or




10
       Yelling of course does not by itself constitute a riot.
11
       No crime exists, of course, of merely being in the vicinity of a riot.
12
       Note that to consider causation, the earlier time at which the House recessed pins down
the time of the cause. Thus the cause existed at the earliest time that either chamber recessed.
Actually the U.S. Capitol Police could not instantaneously analyze threats and reach a decision
and walk down to the well of the House, so the causation of the obstruction of an official pro-
ceeding would likely have actually occurred much earlier than 2:18 PM.
13
       One may be excused for assuming that if the investigating agent had video of an earlier
presence, that would have figured prominently in the Statement of Facts.


                                                13
       Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 14 of 20




         contribute to the recess of the Joint Session of Congress at 2:18 PM.

         That would violate the laws of time and causation.

      (6) Therefore, Defendant Gray is innocent of Count Two of violating 18

         U.S.C. 1512(c)(2). He did not cause at 2:57 PM something to happen at

         2:18 PM.

      (7) Nevertheless, at this stage, Defendant Gray is entitled to disclosure of all

         of the records of the USCP which would identify what exactly was the

         reason or were reasons that the USCP advised the presiding officers 14 to

         recess and evacuate.

      (8) Gray is entitled to all records that would identify why Congress recessed.

      (9) Congress routinely meets and functions with hundreds or thousands of

         visitors coming and going throughout a business day without

         Congressional business coming to a halt.

      (10) Thus, the mere presence within the building of hundreds of

         demonstrators could not be the cause of the Joint Session of Congress

         recessing when on any normal day Congress does not require the Capitol

         building to be vacant in order to function.

      Gray is erroneously accused of obstructing an official proceeding, even

though he arrived at the Capitol after security threats were already occurring and


14
      Rep. McGovern was presiding over the House according to the Congressional Record.


                                           14
        Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 15 of 20




had already matured. Defendant is accused of “aiding and abetting” unknown and

unidentified persons in doing what those persons had already (allegedly) done

without him even being in the area. Defendant is accused of obstructing at 2:57

PM a Joint Session of Congress that recessed at 2:18 PM.


           D. PART B: DISCLOSURE OF LOCATIONS OF
              BARRICADES AND “RESTRICTED AREA” SIGNS
              AT EXACT TIME OF GRAY’S ARRIVAL

       The Government claims that certain areas around the U.S. Capitol were

legally restricted on January 6, 2021. But that is a mixed question of law and fact.

The U.S. Capitol Police (Governing Board) has chosen by its own decision not to

post any permanent signs or notices on the Capitol grounds warning that

sometimes the public grounds might be closed. Instead, the Board directed that

small, flimsy signs (some seen in photographs torn in two as being merely paper)

be affixed to light-weight, movable bike racks, appearing at a very low height at

about waist-high-level in most places. 15

       To have a “Restricted Area” there must be an “area” to which the restriction

applies. An unidentified, indeterminate area cannot be a restricted area. For a

person to knowingly enter a restricted area without authorization, there must be

15
        Most people are conditioned to understand that bike racks either route foot traffic or
control when people may enter, but do not prohibit pedestrian entrance, merely showing where
to go, and/or telling pedestrians when the doors to an event open. Bike racks do not signal by
themselves to the average person any prohibition of entrance, but rather to signal only timing and
the preferred pathway for walking.


                                               15
        Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 16 of 20




both an identifiable area that is restricted and knowledge by the person of a

restriction.

       Specifically there must be a line such that on one side of that line one may

lawfully enter and/or be present, but on the other side of the line they may not.

       The Government is fixated on the idea that mere presence in an area which –

undisclosed to the persons charged – some officials have a private, internal,

unexpressed idea that the area is restricted. In theory, the USCP Governing Board

chose to communicate the existence of a restriction by having flimsy (seen torn in

two in some photographs from January 6), apparently paper that has been

laminated, affixed to bike racks or temporary fences. Had those signs giving

notice actually been still present when Gray and most of the crowds arrived at the

Capitol, they might have been legally effective. But the USCP Governing Board

chose to use an inadequate method of communicating its intentions to those who

would normally expect the Capitol and its Grounds to be open to the public.

Indeed, recordings include many references spoken from the demonstrators of their

belief that the Capitol was “our house” and was open to the public.

       By contrast, the Government has at all times treated this topic as if the

Architect of the Capitol painted a dotted line on the asphalt and grass that day, and

that a line was visible to demonstrators. This is akin to the old joke that the lines

added to Rand McNally maps showing the border of various States are visible on



                                          16
       Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 17 of 20




the actual land itself if one stands near the border.

      But we need not speculate. This motion is a demand for actual proof.

      The Government must provide any and all photographs, video recordings,

witnesses, discussions in police radio recordings, etc., of exactly where any signs

were visible to the crowds at the time that Defendant Gray arrived at the vicinity

of the U.S. Capitol building. Gray is entitled to exculpatory evidence as to where

signs were at that time – not at some other time earlier in the day. The

Government must identify exactly when and where the Government contends Gray

approached the U.S. Capitol Grounds and the position of any “Restricted Area”

signs in that location at that time. It must identify any and all Government

personnel who are witnesses of any “Restricted Area” signs being moved or

obscured before any of the Oath Keeper Defendant arrived at the U.S. Capitol.

      The Court and the prosecutors may be allergic to what they perceive as

conspiracy theories, but Gray, by counsel, focuses here strictly on the location of

potential witnesses.

      Videos taken by various persons, including what some are calling “civilian

video” taken by random attendees or bystanders, were collected and posted at

“Meet Ray Epps, Part 2: Damning New Details Emerge Exposing Massive Web Of

Unindicted Operators At The Heart Of January 6,” Revolver News, December 21,

2021, accessible at: https://www.revolver.news/2021/12/damning-new-details-



                                           17
       Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 18 of 20




massive-web-unindicted-operators-january-6/

      It must be emphasized that this is a collection of videos by others. They

cannot be dismissed on the grounds of where they were collected and posted in one

place. These are not Revolver News’ or Darren Beattie’s videos. They are the

videos of eyewitnesses at the Capitol on January 6, 2021.

      The point here is that the persons shown removing signs, removing

barricades, and rolling up wire mesh fences on which notice signs were affixed are

potential witnesses.

      Defendant Gray is accused of knowingly entering a restricted area without

authorization. Those shown in videos removing barricades, moving bike racks,

and rolling up wire mesh fencing – and thereby removing all signs providing notice

of a restriction – are potential witnesses that may exonerate Defendant Gray.

      Therefore, Defendant Gray is entitled to and hereby demands any and all

information of the identification of these persons for the purpose of calling them as

witnesses.


IV.   CONCLUSION

      The Defendant requests this Court to grant this Motion and such other relief

as may be deemed just. Defendant Daniel Paul Gray, demands to discover the

potentially exculpatory information identified above.




                                         18
      Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 19 of 20




Dated: October 21, 2022
                                    Respectfully submitted,
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                                    19
       Case 1:21-cr-00495-ABJ Document 53 Filed 10/21/22 Page 20 of 20




CERTIFICATE OF SERVICE
I hereby certify that, on October 21, 2022, this motion and the accompany
declaration was filed via the Court’s electronic filing system, which constitutes
service upon all counsel of record.

/s/ John M. Pierce
John M. Pierce




                                       20
